
PER CURIAM:
In this claim, submitted for decision upon the pleadings, claimant seeks payment of the sum of $259.54, representing unpaid bills for merchandise purchased by respondent’s Hut-tonsville Correctional Center.
*376Respondent’s Answer, although admitting the validity of the claim, states that there were no funds remaining in respondent’s appropriation for the fiscal year in question from which the obligation could have been paid.
While the Court feels that this is a claim which in equity and good conscience should be paid, it is of the opinion that an award cannot be made, based on the decision in Airkem Sales and Service, et al. vs. Dept. of Mental Health, 8 Ct.Cl. 180 (1971).
Claim disallowed.
